Case 4:25-cv-02743 Document 10

Filed on 06/30/25 in TXSD = Page 1 of 2

United States Courts
Southern District of Texas
IN THE UNITED STATES DISTRICT COURT FILED
FOR THE SOUTHERN DISTRICT OF TEXAS JUN 3.0 2025
HOUSTON DIVISION
Nathan Ochsner, Clerk of Court,
STEPHEN GBEJULE ODAIBO §
Plaintiff, §
VS. § CIVIL ACTION No.: 4:25-CV-02743
NOVARTIS §
PHARMACEUTICALS
CORPORATION §
Defendant. §
CERTIFICATE OF SERVICE OF
AINTIFF’S FI Cc

Plaintiff Stephen Gbejule Odaibo submits this certificate of service of Plaintiff's First Amended

Complaint. Plaintiff's complaint was amended on June 30th, 2025 pursuant to Fed. R. Civ. P.

Rule 15(a)(1). On June 30th, 2025, a copy of the amended complaint is being served by email

on all counsel of record as listed below:

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ODAIBO, PRO SE

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COUNSEL FOR DEFENDANT
NOVARTIS PHARMACEUTICALS
CORPORATION
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Respectfully submitted,

By:_/s/ Stephen G. Odaibo
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PLAINTIFF, PRO SE

Certificate of Service

| hereby certify that on June 30th, 2025, the aforementioned document was filed in person at the
District Clerk’s Office. | also certify that, on June 30th, 2025, the aforementioned document is
being served on all counsel of record by email.

/s/ hen G. i
Stephen Gbejule Odaibo
